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Case 2:04-cv-09049-DOC-RNB Document 4381-2 Filed 10/21/08 Page 3 of 83 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4381-2 Filed 10/21/08 Page 4 of 83 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4381-2 Filed 10/21/08 Page 5 of 83 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4381-2 Filed 10/21/08 Page 6 of 83 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4381-2 Filed 10/21/08 Page 7 of 83 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4381-2 Filed 10/21/08 Page 8 of 83 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4381-2 Filed 10/21/08 Page 9 of 83 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4381-2 Filed 10/21/08 Page 10 of 83 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4381-2 Filed 10/21/08 Page 11 of 83 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4381-2 Filed 10/21/08 Page 12 of 83 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4381-2 Filed 10/21/08 Page 13 of 83 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4381-2 Filed 10/21/08 Page 14 of 83 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4381-2 Filed 10/21/08 Page 15 of 83 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4381-2 Filed 10/21/08 Page 16 of 83 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4381-2 Filed 10/21/08 Page 17 of 83 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4381-2 Filed 10/21/08 Page 18 of 83 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4381-2 Filed 10/21/08 Page 19 of 83 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4381-2 Filed 10/21/08 Page 20 of 83 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4381-2 Filed 10/21/08 Page 21 of 83 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4381-2 Filed 10/21/08 Page 22 of 83 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4381-2 Filed 10/21/08 Page 23 of 83 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4381-2 Filed 10/21/08 Page 24 of 83 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4381-2 Filed 10/21/08 Page 26 of 83 Page ID
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